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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SANDRA KELLY, JANICE WALTMAN,
AND SYLVIA PATINO, INDIVIDUALLY
& ON BEHALF OF OTHERS SIMILARLY SITUATED                                            PLAINTIFFS

        v.                        Case No 2:13-cv-00441-JRG

HEALTHCARE SERVICES GROUP, INC.                                                    DEFENDANT


                   ORDER GRANTING JOINT MOTION FOR FINAL
                             APPROVAL ORDER
    .
The Court, having considered the Parties’ Joint Motion for Final Approval Order (Dkt. No. 333), for

the same reasons addressed in the Court’s Order granting Plaintiffs’ Unopposed Motion to Approve

FLSA Collective Settlement (Doc. 329), GRANTS the Parties’ joint motion and approves the

settlement of this action in full. As a result, this action and the claims released in the settlement

agreement are hereby DISMISSED with prejudice.


         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 11th day of December, 2015.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
